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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                               4:14CR3085
      vs.
                                                                 ORDER
LISA J. SCHUTTE,
                     Defendant.


       After reviewing the evaluation from the Federal Medical Center, (Filing No. 96),
questioning the defendant, (Filing No. 99), and hearing defense counsel’s assessment on
this issue, the court finds the defendant has the cognitive ability, competence, and
capacity to consult with counsel, understand the criminal proceedings, and participate
with and assist counsel in the defense of this case.

       IT IS ORDERED:

       1)     The defendant is competent to stand trial.

       2)     Pending trial, the defendant shall comply with all terms and conditions of
release which were previously imposed, and the following additional condition: The
defendant is prohibited from taking over-the-counter medication in excess of the
recommended dosage as stated on the medication packaging.

       March 13, 2015.
                                                  BY THE COURT:

                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
